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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

 LENA BELL ROMAN VILLEGAS
 Plaintiff                               CIVIL 17-1078CCC
 vs
 SAM’S CLUB/WALMART PUERTO
 RICO
 Defendant


                                JUDGMENT

     Having considered the parties’ Joint Motion for Voluntary Dismissal with
Prejudice (d.e. 49) filed on June 27, 2018, informing the Court that they have
entered into a “Confidential Settlement and General Release Agreement,”
which is GRANTED, it is ORDERED and ADJUDGED that judgment be
entered DISMISSING the action against defendant Sam’s Club/Walmart Puerto
Rico, WITH PREJUDICE and without the imposition of costs or attorneys’ fees.
     The jury trial scheduled for September 13, 2018 is, therefore, VACATED.
     SO ORDERED AND ADJUDGED.
     At San Juan, Puerto Rico, on June 28, 2018.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
